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Jeff Johnson (00:06):
What's up?

James Garretson (00:08):
How's the show going?

Jeff Johnson (00:08):
I don't even give a damn. That show's ridiculous. Someone do a new show.

James Garretson (00:14):
What show are you wanting, a nude show?

Jeff Johnson (00:17):
Jeff Lowe's going to prison, that show.

James Garretson (00:20):
Oh, that show.

Jeff Johnson (00:22):
I got him. I got him dead to rights, dude. He's done.

James Garretson (00:25):
What happened?

Jeff Johnson (00:27):
I got news crews on the way. I got the Department of Environmental Quality, the Oklahoma Department
of Agriculture, all involved. On the video that you sent to me last night of the back property of the G.W.
zoo where there is a pile of dead, rotting cows that have been laying there for two weeks, a hundred
yards from the Washita River.

James Garretson (00:56):
That is disgusting.

Jeff Johnson (00:57):
He's now... You don't understand. You know how illegal that is?

James Garretson (00:59):
With mine, I always had a 10 foot burn pit and I always kept them burning. It always smelled like
[inaudible 00:01:07]

Jeff Johnson (01:08):
There's a pile of them. I have video. They've been there for two weeks.



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James Garretson (01:14):
Damn.

Jeff Johnson (01:16):
The Department of Environmental Quality is like screaming. This is liable to make national news. He's
gone.

James Garretson (01:27):
Can I tip you off something, but I got to be able to trust you, dude?

Jeff Johnson (01:35):
All right.

James Garretson (01:37):
You got to give me your man's fucking word about it, dude.

Jeff Johnson (01:39):
You got it, dude.

James Garretson (01:41):
Really? Don't go crazy on me on this shit, okay?

Jeff Johnson (01:44):
Okay.

James Garretson (01:45):
All right. This one guy robbed my house that used to work for Joe, name is Will Talley. I saw him on a
Facebook-

Jeff Johnson (01:55):
Did you say he robbed your house?

James Garretson (01:57):
Yeah. He worked for me for a little while, and he robbed my house and shit. But this guy, not really
related to that, he had warrants. Jeff Lowe hired him to piss me off. Okay, because whatever.

Jeff Johnson (02:13):
Oh yeah, just being a dick.

James Garretson (02:15):
Yeah, just being a dick. So I seen a picture of him on a Facebook page last night at G.W. Park on the cup.
He has a couple of felony warrants out of Pontotoc County. So, I tipped off Rhodes, and they picked
them all up this morning. That's two of the zookeepers in jail.


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Jeff Johnson (02:37):
Are they testifying or?

James Garretson (02:41):
No, no, no, no. They had warrants and I tipped them off. They went and picked them up from work
today.

Jeff Johnson (02:50):
At the zoo?

James Garretson (02:50):
At the zoo.

Jeff Johnson (02:51):
What was the guy's name?

James Garretson (02:54):
[inaudible 00:02:54] I'm going to give you his full name and the date of birth. William Marshall Talley, T-
A-L-L-E-Y. He's 43 years old. He has warrants out of Pontotoc County for meth. He was arrested at the
park this morning, him and his girlfriend. I don't know her name.

Jeff Johnson (03:13):
Outstanding.

James Garretson (03:16):
Just keep that one quiet because I'm kind of retaliating behind the scene.

Jeff Johnson (03:19):
You got it.

James Garretson (03:19):
Yeah, two of his zookeepers in jail, and they're in Garvin County.

Jeff Johnson (03:24):
It was outstanding Oklahoma warrants for meth.

James Garretson (03:31):
For meth, yeah. Pontotoc County, you can type in his information, find it all. Yeah. So, that was kind of
[inaudible 00:03:38].

Jeff Johnson (03:38):
Nice job.



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James Garretson (03:40):
I'm wondering about [crosstalk 00:03:43]-

Jeff Johnson (03:43):
I won't mention that until it is available on OSCM. And at that point, I just stumbled into it. Apparently
the woman that owns the property between the zoo and the lake property to the north of the zoo,
there's 66 acres there that's been in this woman's family for, I don't know, 20 years. She's telling me
stories flying over their house in the middle of the night with their drone. She said for the past 15 years
that Joe was trying to piss her off because they were going to try to buy that land, then they would own
all of that.

Jeff Johnson (04:26):
But, her sister lives there right now, and they hired somebody to go in and clear the fence line between
their two properties it, I guess, grown up on the fence line. So this guy they just hired, some flunky to go
clear fence line back in the back, comes up to the house and goes, "Man, y'all been back there? It sure
does stink." And they were like, what are you talking about? They go back there and there's just like a
million flies and the stench is horrific, and there's a pile of dead, rotting cows.

James Garretson (04:59):
Damn. I seen that post. And then she said something, she talked to some guy named Will and I was like,
"No fucking way. Jeff Lowe hired that son of a bitch back." Because, he just wanted to piss me off. Then I
texted [crosstalk 00:05:16]-

Jeff Johnson (05:15):
Is that the same Will?

James Garretson (05:17):
Yeah. I text Larry Rhodes last night and by fucking eight o'clock he texted back and said, "They're in jail."

Jeff Johnson (05:27):
Wow.

James Garretson (05:29):
So, that's just another strike to show the people that are around them.

Jeff Johnson (05:33):
Exactly.

Jeff Johnson (05:35):
And see, this is already being sent to Barbara Murdock and Melody McElroy in Thackerville. Here's
what's coming, piles of rotting cows. Now here's what's coming again. Here's one of his hot shot
zookeepers that is now in jail for outstanding warrants for methamphetamine. This is the kind of shit
that's going to end up in Love County's hands. He ain't opening that fucking zoo.



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James Garretson (06:00):
Yeah. It's going to be trash, dude. It's those trashy ass people because nobody with any brains is going to
come work for a hundred bucks a week.

Jeff Johnson (06:09):
No.

James Garretson (06:10):
He probably don't even pay them a hundred bucks. He probably don't even pay them.

Jeff Johnson (06:13):
No. Well, I know people that have been paid more than that and housing. But that's okay, if you don't
mind working 16 hours a day, seven days a week.

James Garretson (06:27):
Yeah. I don't see Lowe paying anybody. That's just crazy.

Jeff Johnson (06:29):
You're there all day, every day. He won't give you a day off. You think the park closes at seven? I can go
home. No you can't. They're lucky if they get out of there by midnight.

James Garretson (06:39):
I heard it's real filthy right now, the park, like real filthy.

Jeff Johnson (06:43):
Yeah. He's screwed right now, I will tell you right now.

James Garretson (06:50):
[crosstalk 00:06:50].

Jeff Johnson (06:50):
Because in the morning, the woman that owns that property is calling Channel 9. She's calling KXYII,
their affiliate in Ardmore. His name is Shelby.

James Garretson (07:01):
Yeah, I know who you're talking about.

Jeff Johnson (07:03):
I talked to him this morning, Shelby Dowler. He's taking this over from Jen Phillips. Sylvia Corkill is all
over it. I need to call right now a woman named Morgan Vance.

James Garretson (07:19):



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Yeah, while we do this, let's find out... I'm trying to figure out names of his employees, and let's find
them and check their warrants because I guarantee everybody there has warrants.

Jeff Johnson (07:29):
Oh yeah, that's how...Everybody that's ever worked there had warrants.

James Garretson (07:32):
We just need to fuck with them nonstop. Or if they don't have driver's licenses, just throw pop. Just
fucking start banging Jeff Lowe out. I'm going to throw him under the bus any time I can tomorrow in
the stand.

Jeff Johnson (07:45):
Yeah, I'm going to tell you-

James Garretson (07:46):
When I'm on the stand, if his name's mentioned, I'm going to throw him under the bus.

Jeff Johnson (07:49):
Oh, that's right you're tomorrow. The news tonight has just been a joke. Carole Baskin took the stand
and she said, "Yeah, Joe'd been trying to kill me for years." That's it? That's your update for today?

James Garretson (08:05):
Since 2011, she said.

Jeff Johnson (08:06):
The news channels are just sucking ass on this.

James Garretson (08:10):
They are. It's [crosstalk 00:08:11] -

Jeff Johnson (08:10):
Carole Baskin took the stand but more at six. And at six they go, Carol Baskin took the stand and she said
she was in fear for her life.

James Garretson (08:17):
Yeah. It's garbage news coverage. I'm going to go in there. I'm going to just do my fucking duty. All right.
I'm going to go in there and just, whatever, what it was or whatever. Then I'm going to leave there and
I'm going to fuck with Jeff Lowe till the day I die.

Jeff Johnson (08:33):
There you go. I'm on board.

James Garretson (08:35):



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I'm done. All right bro, I'll talk to in the morning.

Jeff Johnson (08:37):
All right, bye.

James Garretson (08:37):
Bye.




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